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Case No. 1:23-mc-00037
Gwin, J.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
_____________________________
                              :
UNITED STATES OF AMERICA, :                          CASE NO. 1:23-mc-00037
                              :
      Petitioner,             :                          AMENDED PROTECTIVE ORDER
v.                            :
                              :
EATON CORPORATION,            :
                              :
      Respondent.             :
_____________________________ :

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

          On June 11, 2024, the Court entered a protective order governing redactions that

Respondent Eaton Corporation could make prior to disclosing any non-U.S. employee

evaluations to the IRS.1 The protective order identified several information categories for

redaction, but it did not specifically permit Eaton to redact religious belief information or

sexual orientation information.

          On remand, Eaton asked the Court for permission to redact religious belief and sexual

orientation information prior to in-camera review.2 The government objects to pre-review

redactions, but it does not object to adding those two information categories to the protective

order.3

          The Court therefore amends the protective order. The following supersedes this case’s

original protective order:




1
  Doc. 30.
2
  Doc. 51.
3
  Doc. 52.
                                               ‐1-
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       1.      When Respondent Eaton produces the summonsed performance evaluations

to the government, Eaton may redact home addresses (except that city and country shall

remain visible to the extent they appear), family information (including marital status),

medical history, employee telephone numbers, credit history, non-performance-related

complaints raised against the employees, religious belief information, and sexual orientation

information.

       2.      Upon receipt of the evaluations, the government shall file a notice confirming

that Eaton has produced the evaluations.

       3.      The Court retains jurisdiction to resolve any disputes regarding the

implementation of this Amended Protective Order.

       IT IS SO ORDERED.



Dated: April 22, 2025                              s/    James S. Gwin
                                                   JAMES S. GWIN
                                                   UNITED STATES DISTRICT JUDGE




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